88

Case 1:23-cr-00

Details:
Group photos

Start Time: 9/22/2020 12:52(UT
Last Activity: 1/15/2021 20:53(U
Number of attachments: 38
Source: WhatsApp

Source file: 00008020-000948AC3CO0B002E files_full-zip/private/var/mobile/Containers/Shared/AppGroup/267984F2-2197-4AFA-83CD-
6D8D0F4D1498/ChatStorage.sqlite : 0x5716E (Table: ZWAMESSAGE, ZWACHATSESSION, ZWAGROUPMEMBER; Size: 19689472 bytes)
00008020-000948AC3CO0B002E files _full.zip/private/var/mobile/Containers/Shared/AppGroup/267984F2-2197-4AFA-83CD-
6D8D0F4D1498/Library/Preferences/group.net.whatsapp.WhatsApp.shared_plist : Ox5E6 (Size: 15919 bytes)
00008020-000948AC3CO0B002E files _full.zip/private/var/mobile/Containers/Shared/AppGroup/267984F2-2197-4AFA-83CD-
6D8D0F4D1498/Media/Profile/1 7034315078-1583455112 thumb : 0x0 (Size: 4601 bytes)

00008020-000948AC3CO0B002E files _full.zip/private/var/mobile/Containers/Shared/AppGroup/267984F2-2197-4AFA-83CD-
6D8D0F4D1498/Media/Profile/17034315078-15834551 12 jpg : Ox0 (Size: 106350 bytes)

Body file: chat-88.txt

4)

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TC-5)

Participants:

17034315078@s.whatsapp.net

ee Ben Tyler

12024370434@s.whatsapp.net
Shane (owner)

Identifier. 17034315078@s.whatsapp.net

USAO-DC 000528
02/01/24 Page 2 of 13

WAUK” Sh Fate) Pritt Let] 9) Mala] Yo
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83CD-6D8D0F4D1498/ChatStorage.sqlite : Ox9B7A04 (Table: ZWAMESSAGE, ZWAGROUPMEMBER,
ZWACHATSESSION; Size: 19680472 bytes)

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83CD-6D8D0F4D1498/Library/Preferences/group.net.whatsapp.WhatsApp.shared.plist : 0x5E6 (Size: 15919 bytes)

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AO LI PAUP Me AOL Ser (eM ar-lcct-]e) Male) iT ee) 18)
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6D8D0F4D1498/Library/Preferences/group.net.whatsapp.WhatsApp.shared. plist : OxSE6
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6D8D0F4D1498/ChatStorage.sqlite : Ox9BD40D (Table: ZWAMESSAGE, ZWAGROUPMEMBER, ZWACHATSESSION; Size:

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6D8D0F4D1498/Message/Media/17034315078@s.whatsapp.net/4/4/4488652c-b9f9-424b-ada9-bc2337afcc2e.thumb : (Size: 3553 bytes)

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Case 1:23-cr-00177-ABJ Document

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-2197-4AFA-83CD-6D8D0F4D1498/ChatStorage.sqlite : Ox9BDOAB (Table: ZWAMESSAGE,
ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)
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-2197-4AFA-83CD-

6D8D0F4D1498/Library/Preferences/group.net.whatsapp.WhatsApp.shared.plist : Ox5E6
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ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)

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4AFA-83CD-6D8DO0F4D 1498/ChatStorage.sqlite : Ox9CAC15 (Table: ZWAMESSAGE,
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ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)
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6D8D0F4D1498/ChatStorage.sqlite : Ox9CA7BF (Table: ZWAMESSAGE, ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)

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ZWACHATSESSION; Size: 19689472 bytes)

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ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)

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83CD-6D8D0F4D1498/ChatStorage.sqlite : 0x9D610C (Table: ZWAMESSAGE, ZWAGROUPMEMBER,
ZWACHATSESSION; Size: 19689472 bytes)

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Case 1:23-cr-00177-ABJ Document 5

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-2197-4AFA-83CD-6D8D0F4D1498/ChatStorage.sqlite : 0x9D6356 (Table: ZWAMESSAGE,
ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)

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6D8D0F4D1498/ChatStorage.sqlite : Ox9D9DBB (Table: ZWAMESSAGE, ZWAGROUPMEMBER, ZWACHATSESSION; Size:

19689472 bytes)

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OM PAUP: VAUD Sel LVM are lct-] 0) OMe) 118m OV a8]
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6D8D0F4D1498/ChatStorage.sqlite : 0x9D987B (Table: ZWAMESSAGE, ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472

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515
Case 1:23-cr-00177-ABJ Document 32-1 Filed 02/01/24 Page 13 of 13

Source Info:

00008020-

000948AC3C0B002E files_full.zip/private/var/mobile/Containers/Shared/AppGroup/267984F2
-2197-4AFA-83CD-6D8D0F4D1498/ChatStorage.sqlite - 0x9E4704 (Table: ZWAMESSAGE,
ZWAMEDIAITEM, ZWAGROUPMEMBER, ZWACHATSESSION; Size: 19689472 bytes)
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000948AC3C0B002E files_full.zip/private/var/mobile/Containers/Shared/AppGroup/267984F2
-2197-4AFA-83CD-
6D8D0F4D1498/Library/Preferences/group.net.whatsapp.WhatsApp.shared._plist : Ox5E6
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-2197-4AFA-83CD-
6D8D0F4D1498/Message/Media/17034315078@s.whatsapp.net/4/e/4ea31 cb6-9072-4aa2-
a3cf-d19a25f1cd20 jpg : (Size: 72064 bytes)

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